Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 1 of 44
Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 2 of 44
Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 3 of 44
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 4 of 44




DEF 000115
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 5 of 44




DEF 000244
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 6 of 44




DEF 000245
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 7 of 44




DEF 000252
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 8 of 44




DEF 000261
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 9 of 44




DEF 000262
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 10 of 44




DEF 000263
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 11 of 44




DEF 000264
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 12 of 44




DEF 000265
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 13 of 44




DEF 000266
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 14 of 44




DEF 000267
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 15 of 44




DEF 000268
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 16 of 44




DEF 000269
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 17 of 44




DEF 000270
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 18 of 44




DEF 000271
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 19 of 44




DEF 000272
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 20 of 44




DEF 000273
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 21 of 44




DEF 000274
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 22 of 44




DEF 000275
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 23 of 44




DEF 000276
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 24 of 44




DEF 000277
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 25 of 44




DEF 000278
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 26 of 44




DEF 000279
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 27 of 44




DEF 000280
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 28 of 44




DEF 000282
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 29 of 44




DEF 000283
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 30 of 44




DEF 000284
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 31 of 44




DEF 000285
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 32 of 44




DEF 000286
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 33 of 44




DEF 000287
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 34 of 44




DEF 000288
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 35 of 44




DEF 000289
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 36 of 44




DEF 000290
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 37 of 44




DEF 000291
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 38 of 44




DEF 000292
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 39 of 44




DEF 000293
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 40 of 44




DEF 000294
      Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 41 of 44




DEF 000295
     Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 42 of 44




DEF 000318
     Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 43 of 44




DEF 000501
     Case 6:17-cv-01215-EFM Document 133-1 Filed 10/07/19 Page 44 of 44




DEF 000502
